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                                                                                   FILED
                                                                                 U.S. DISTRICT COURT
                                                                             EASTERN DISTRICT ARKANSAS

                       IN THE UNITED STATES DISTRICT COURT                      OCT 2 4 2012
                           EASTERN DISTRICT OF ARKANSAS JAMm~A~RK
                                WESTERN DIVISION        By·-~~t.....WliU..I....\,&&o-"~...._.,~~*
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UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                   NO. 4:07CR00207-02 JLH

CEDRIC TRAVIS GAITHER                                                              DEFENDANT


                        .JUDGMENT and COMMITMENT ORDER

       Court convened on Wednesday, October 24, 2012, for the scheduled hearing on the

government's motion to revoke supervised release. Assistant United States Attorney Linda Lipe was

present for the government. The defendant appeared in person with his attorney, Assistant Federal

Public Defender Nicole Lybrand. United States Probation Officer Dorahn Garman was also present.

       Upon inquiry from the Court, the defendant did not contest the allegations contained in the

motion to revoke. Following statements from counsel and the defendant, the Court determined the

motion to revoke should be GRANTED. Document #78.

       IT IS THEREFORE ORDERED that defendant be sentenced to TIME SERVED.

Supervised release is reimposed and will expire on January 21, 2013. Restitution in the

amount of $1,050 is reimposed.

       All other conditions of supervised release remain in full force and effect as previously

imposed.

       IT IS SO ORDERED this      2 'f--"f-' day of October, 2012.




                                                    J. LEbN HOLMES
                                                    UNITED STATES DISTRICT JUDGE
